      Case 8:16-cv-00860-DKC Document 3-3 Filed 03/22/16 Page 1 of 5



                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS           )
CORPORATION, et al.,                  )
                                      )
                                      )
          Plaintiffs,                 )
                                      )
    v.                                )
                                      )           Case No. 8:16-cv-860
FINANCIAL INDUSTRY                    )
REGULATORY AUTHORITY, INC.,           )
                                      )
                                      )
                                      )
                                      )
             Defendant.               )
                                      )

                    EXHIBIT A – Henry Diekmann Declaration

      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
     FOR PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION
          Case 8:16-cv-00860-DKC Document 3-3 Filed 03/22/16 Page 2 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                     )
CORPORATION, et al.,                            )
                                                )
                                                )
               Plaintiffs,                      )
                                                )
       v.                                       )
                                                )            Case No.
FINANCIAL INDUSTRY                              )
REGULATORY AUTHORITY, INC.,                     )
                                                )
                                                )
                                                )
                                                )
                  Defendant.                    )
                                                )

                         DECLARATION OF HENRY DIEKMANN

       I, HENRY DIEKMANN, of Scottsdale Capital Advisors Corp., 7170 E. McDonald Dr.,

Ste. 6, Scottsdale, AZ 85253, make this declaration and affirm and declare as follows:

       1.      I am over 18 years of age and am qualified to make this Declaration.

       2.      I submit this declaration in support of Plaintiffs’ Complaint for Declaratory and

Injunctive Relief and Plaintiffs’ Motion for Preliminary Injunction and Permanent Injunction.

       3.      I declare that the following statements are true and correct to the best of my

knowledge and set forth facts as would be admissible in federal court.

       4.      Scottsdale Capital Advisors Corp. (“SCA”) is a full-service broker-dealer and

registered investment-advisor firm focused on serving the over-the-counter (“OTC”) securities

market.

       5.      I am the President of SCA, and have held that role since January 2015. I have

been employed by SCA since March 2010 and have held multiple positions at SCA prior to my
            Case 8:16-cv-00860-DKC Document 3-3 Filed 03/22/16 Page 3 of 5



appointment as President, including most recently, manager of SCA’s Rule 144 Compliance

Department. Prior to joining SCA, I worked as a financial advisor at Morgan Stanley and

Northwestern Mutual. I graduated with a BA in History from Arizona State University in 2008.

       6.       John and Justine Hurry formed SCA under the laws of the State of Arizona in

2001. Since that time, SCA has become a market leader in microcap-securities trading.

Microcap-securities trading generally involves stock that trades at a relatively low price and

market capitalization in the OTC market. Such stock may be in the form of physical stock

certificates or electronic journal transfers directly from the issuer’s transfer agent.

       7.       Mr. Hurry is one of SCA’s directors.

       8.       Timothy DiBlasi is SCA’s Chief Compliance Officer, and he has held this

position continuously since the period relevant to this proceeding.

       9.       In 2013, Mr. Hurry established Cayman Securities Clearing and Trading SEZC

Ltd. (“CSCT”) in the Special Economic Zone of the Cayman Islands. CSCT is a Cayman

Islands-incorporated broker-dealer.

       10.      CSCT became a customer of SCA and, through its account there, deposited and

liquidated penny stocks on behalf of CSCT’s own customers.

       11.      The Financial Industry Regulatory Authority (“FINRA”) is a registered securities

association and self-regulatory organization authorized under the Securities Exchange Act of

1934 (the “Exchange Act”). FINRA operates as a private regulatory body for the securities

industry.

       12.      On May 15, 2015, FINRA commenced disciplinary proceedings against SCA, Mr.

Hurry, Mr. DiBlasi, and D. Michael Cruz, SCA’s former President (collectively “Plaintiffs”). In

its complaint (FINRA Case No. 2014041724601), FINRA alleges that (i) certain transactions that




                                                   2
         Case 8:16-cv-00860-DKC Document 3-3 Filed 03/22/16 Page 4 of 5



CSCT routed through SCA violated Section 5 of the Securities Act of 1933 (the “Securities

Act”) and (ii) SCA’s supervisory processes and procedures were not reasonably designed to

detect and prevent violations of Section 5 of the Securities Act.

       13.     FINRA’s complaint uses these purported Securities Act violations as the predicate

for a charged violation of FINRA’s catch-all ethical rule, Rule 2010, which requires members to

“observe high standards of commercial honor and just and equitable principles of trade.”

       14.     On December 11, 2015, Plaintiffs moved for summary disposition before the

FINRA Hearing Officer assigned to the case. Plaintiffs argued, among other things, that

FINRA’s statutory authority under the Exchange Act does not extend to enforcement of the

Securities Act, such that the disciplinary proceeding exceeded FINRA’s powers.

       15.     On February 26, 2016, the Hearing Officer denied Plaintiffs’ motion, essentially

holding that FINRA can use Rule 2010 to enforce any of the federal securities laws despite the

contrary text of the Exchange Act.

       16.     A two-week hearing on the merits is scheduled before FINRA in Los Angeles,

California, starting on June 13, 2016. Plaintiffs have retained the law firm of Norton Rose

Fulbright US LLP to represent them in the hearing.

       17.     If FINRA continues its unlawful enforcement action and is unsuccessful,

Plaintiffs would suffer the following harms: (i) substantial legal fees and expenses that must be

incurred during the hearing and all subsequent appeals; and (ii) significant disruption of

Plaintiffs’ business operations caused by the required participation of key officers in a two-week-

long hearing in an inconvenient, out-of-state forum. The time and resources necessary to

participate in this hearing will be substantial. I understand that the legal fees and expenses alone

required to represent Plaintiffs at the hearing are likely to be in the hundreds of thousands of




                                                  3
Case 8:16-cv-00860-DKC Document 3-3 Filed 03/22/16 Page 5 of 5
